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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF MISSOURI
                                   KANSAS CITY DIVISION

IN RE:                                           )
                                                 )
LAKESHORE FARMS, INC.,                           )       Case No 18-50077-btf11
                                                 )       Chapter 11
                          Debtor.                )
                                                 )

                WITNESS AND EXHIBIT LIST OF LAKESHORE FARMS, INC

           Debtor, Lakeshore Farms, Inc., submits the following list of witnesses who may be called

and exhibits which may be offered at the hearing to be conducted on March 26, 2018,

commencing at 1:00 p.m.

                                               WITNESSES

           1. Jonathan Russell, President of Lakeshore Farms, Inc.

           2. Any witness called or listed by any other party in interest.

           3. Any witness necessary for rebuttal.

                                               EXHIBITS

           1.     Budget, in substantially the form provided with this pleading.

           2.     Any Exhibit identified by any other party.

           3.     Any Exhibit for the purpose of impeachment or rebuttal.

           Lakeshore Farms, Inc. reserves the right to request that the Court take judicial notice of

appropriate matters, including but not limited to the record in this matter.

                                                 Respectfully Submitted:

                                                 EVANS & MULLINIX, P.A.

                                                 /s/ Joanne B. Stutz
                                                 Joanne B. Stutz, KS #12365; MO #30820
                                                 7225 Renner Road, Suite 200
                                                 Shawnee, KS 66217
                                                 (913) 962-8700; (913) 962-8701 (Fax)
                                                 jstutz@emlawkc.com
                                                 Attorneys For Debtor

00779048
                                                                                                                             LAKESHORE FARMS, INC.
                                                                                                                               Nine Month Budget
                                           Source      Purpose                Mar-18            Apr-18         May-18         Jun-18           Jul-18          Aug-18         Sep-18   Oct-18   Nov-18
Desc Main




                                           ARM         Land Leases   $   1,724,583.00
                                           CC          Labor         $      18,000.00
                                           CC          Fuel          $      20,000.00
                                           CC          Repairs       $      19,000.00
                                           CC          Farm Bureau   $       2,300.00
                                           Co-Dist     Seed                             $   217,076.00
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                                           Co-Dist     Herbicide                        $   225,239.00
                                           ARM         Labor                            $     7,000.00
                                           CC          Leases                           $    73,163.00
                                           ARM         Fuel                             $    20,000.00
                                           CC          Repairs                          $    19,000.00
                                           CC          Veh. Paymt                       $     3,250.00
                                           CC          Farm Bureau                      $     2,300.00
                                           Co-Dist     Herbicide                                         $   84,029.00
                                           ARM         Labor                                             $    7,000.00
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                                           ARM         Fuel                                              $   10,000.00
                                           ARM         Repairs                                           $    5,000.00
                                           CC          Veh. Paymt                                        $    3,250.00
                                           CC          Farm Bureau                                       $    2,300.00
                                           ARM         Labor                                                             $ 7,000.00
                                           ARM         Fuel                                                              $ 5,000.00
                                           ARM         Repairs                                                           $ 2,500.00
                                           ARM         Irrigation                                                        $ 10,000.00
Document




                                           CC          Veh. Paymt                                                        $ 3,250.00
                                           CC          Farm Bureau                                                       $ 2,300.00
                                           ARM         Labor                                                                           $    7,000.00
                                           ARM         Fuel                                                                            $    5,000.00
                                           ARM         Repairs                                                                         $    2,500.00
                                           ARM         Irrigation                                                                      $   15,000.00
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                                           CC          Veh. Paymt                                                                      $    3,250.00
                                           CC          Farm Bureau                                                                     $    2,300.00
                                           ARM         Labor                                                                                            $    7,000.00
                                           ARM         Fuel                                                                                             $    5,000.00
                                           ARM         Irrigation                                                                                       $   15,000.00
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                                           CC          Veh. Paymt                                                                                       $    3,250.00
                                           CC          Farm Bureau                                                                                      $    2,300.00
                                           ARM         Labor                                                                                                            $   7,000.00
                                           ARM         Fuel                                                                                                             $   5,000.00
                                           CC          Veh. Paymt                                                                                                       $   3,250.00
                                           CC          Farm Bureau                                                                                                      $   2,300.00
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                                                                                                                                     LAKESHORE FARMS, INC.
                                                                                                                                       Nine Month Budget
                                           Source          Purpose                       Mar-18           Apr-18       May-18         Jun-18             Jul-18       Aug-18              Sep-18             Oct-18            Nov-18
Desc Main




                                           ARM             Labor                                                                                                                                   $      7,000.00
                                           ARM             Fuel                                                                                                                                    $     20,000.00
                                           ARM             Repairs                                                                                                                                 $     10,000.00
                                           CC              Veh. Paymt                                                                                                                              $      3,250.00
                                           CC              Farm Bureau                                                                                                                             $      2,300.00
                                           ARM             Land Leases                                                                                                                                             $       115,000.00
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                                           ARM             Labor                                                                                                                                                   $         3,000.00
                                           ARM             Harvesting                                                                                                                                              $       245,086.00
                                           ARM             Fuel                                                                                                                                                    $        20,000.00
                                           ARM             Repairs                                                                                                                                                 $         9,000.00
                                           CC              Veh. Paymt                                                                                                                                              $         3,250.00
                                           CC              Farm Bureau                                                                                                                                             $         2,300.00
                                           CC              Legal Fees        $        10,000.00 $      10,000.00 $   10,000.00 $ 10,000.00 $        10,000.00 $    10,000.00 $     10,000.00 $           10,000.00 $        10,000.00
                                           CC              Consult Fees      $              -   $         500.00 $      300.00 $    300.00 $           300.00 $       300.00 $        300.00 $              300.00 $           300.00
                                           CC              Qtly Fees         $         6,500.00                                            $         4,875.00                                $              975.00
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                                           Mo. Totals                        $      1,800,383.00 $    577,528.00 $ 121,879.00 $ 40,350.00 $         50,225.00 $ 42,850.00 $        27,850.00 $           53,825.00 $       407,936.00 $ 3,122,826.00
                                                                                                                             Total Use of Funds
                                           Legal/ust       Land Leases               Seed            Herbicide       Labor         Leases         Harvesting        Fuel        Repairs                Irrigation     Vehicle Payments Farm Bureau
                                           fees
                                             $94,650.00      $1,839,583.00           $217,076.00     $309,268.00     $70,000.00   $73,163.00      $245,086.00     $110,000.00      $68,000.00           $40,000.00          $26,000.00      $26,694.18
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                                                                                                                       Total Sources of Funds by Month
                                           ARM                               $      1,724,583.00 $     27,000.00 $   22,000.00 $ 24,500.00 $        29,500.00 $    27,000.00 $     12,000.00 $           37,000.00 $       392,086.00 $ 2,295,669.00
                                           CC                                $         75,800.00 $    108,213.00 $   15,850.00 $ 15,850.00 $        20,725.00 $    15,850.00 $     15,850.00 $           16,825.00 $        15,850.00 $ 300,813.00
                                           Co-Dist                           $               -   $    442,315.00 $   84,029.00 $       -   $              -   $          -   $           -   $                 -   $              -   $ 526,344.00
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                                           qtly fee calc                     July               Oct
                                                                             $       739,757.00 $ 120,925.00
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                                           The Vehicle Payments are for the following:
                                           2015 F350, secured to Union Bank
                                           2016 F350 secured to TD
                                           the Escalade secured to TD
                                           Hauling Grain concludes in or about November or December. Debtor anticipates that the net income, after paying the DIP loan, will approximate $350,000 to $500,000.00.
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